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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

PRESERVATION TECHNOLOGIES LLC,          )
                                        )
           Plaintiff,                   )     C. A. No. 6:22-cv-00025-ADA
                                        )
     v.                                 )
                                        )     JURY TRIAL DEMANDED
WGCZ LIMITED, S.R.O. AND                )
WGCZ HOLDING, A.S.,                     )
                                        )
           Defendants.                  )




            DECLARATION OF ROBERT SEIFERT IN SUPPORT OF
                  DEFENDANTS’ MOTION TO DISMISS
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       I, Robert Seifert, declare and state as follows:
       1.      I act as administrative director for WGCZ Holding, a.s. and WGCZ Limited, s.r.o.
I make this declaration of the following facts from my direct, personal knowledge, except to the
extent that facts are stated upon information and belief, and would competently testify thereto if
called as a witness.
       2.      WGCZ Holding, a.s. (“WGCZ Holding”) is a Czech Republic corporation and
WGCZ Limited, s.r.o. (“WGCZ Limited”) is a Czech Republic limited liability company, each
organized and existing under Czech Republic law with their principal places of business in
Prague, Czech Republic, European Union. WGCZ Holding and WGCZ Limited’s officers,
directors, and employees reside in the Czech Republic.
       3.      Neither WGCZ Holding nor WGCZ Limited have offices in Texas or the United
States. Neither is registered to do business in Texas or any other U.S. state. Neither has U.S.-
based operations, U.S. employees, own U.S. property, rent U.S. property, nor pay U.S. state or
federal taxes. Neither has or has had any U.S. servers.
       4.      At all relevant times, WGCZ Holding and WGCZ Limited have held no U.S. bank
accounts, have no U.S. mailing addresses or phone numbers, and do not have any designated
agents residing in, domiciled in, or doing business from Texas or the United States. They do not
provide any services in Texas or the United States. None of their officers or directors reside in
or are domiciled in Texas or the United States.
       5.      Neither WGCZ Holding nor WGCZ Limited has ever filed a lawsuit in Texas or
anywhere else in the United States, nor have they sought the protection of any Texas laws.
       6.      WGCZ Holding is a holding company and is the owner of WGCZ Limited,
another holding company, among other entities.
       7.      WGCZ Holding and WGCZ Limited operate as distinct entities with unique
business purposes and functions. They maintain separate corporate minutes and records and
otherwise observe corporate formalities by, for example, maintaining separate bank accounts and
not commingling assets. WGCZ Holding does not direct WGCZ Limited; WGCZ Limited
operates as a separate entity. The same is true between those entities and their subsidiaries.
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       8.        WGCZ Holding and WGCZ Limited have not operated, monitored, or provided
technological support to any websites, including those cited in the Complaint.
       XVideos
       9.        WebGroup Czech Republic, a.s. (“WebGroup”) is a wholly Czech company and
the operator of www.xvideos.com (“XVideos”). WebGroup is a separate company from WGCZ
Holding and WGCZ Limited and was not named as a defendant in this suit. Neither WGCZ
Limited nor WGCZ Holding owns or provides technical support to XVideos, nor does either
entity maintain or operate the site.
       10.       XVideos is a video hosting platform that allows registered users to upload adult
videos. WebGroup does not perform acts related to XVideos in Texas or the United States.
       11.       WebGroup does not aim XVideos at any particular country. Rather, XVideos is
available to the entire world of internet users, setting aside age or country censorship filters, and
is available in approximately 250 countries. The majority of XVideos’ market is not
concentrated in the United States. The percentage of total visitors to XVideos with United States
IP addresses varies over time and recently averages about 8.5 percent (with the rest of the
visitors coming from other countries around the world). Texas users account for approximately
6% of total US users, and less than 1% of all XVideos visitors.
       12.       The servers for XVideos are located in Amsterdam, Netherlands, which are
maintained and operated by a third party, ServerStack, Inc. WebGroup does not have, and never
has had, its personnel supporting the site in Texas or anywhere in the United States. WebGroup
also does not maintain servers or offices supporting the XVideos site in Texas or anywhere in the
United States.
       13.       Because the XVideos site has a global user base, WebGroup contracts with
Content Distribution Network (“CDN”) companies, including CDN companies in the U.S., so
that users viewing videos have uninterrupted experience.
       14.       Webgroup does not have any ownership interest, control over, or corporate
relationship with any CDN providers; WebGroup is merely their customer. WebGroup also does
not have access to or control over the CDN facilities owned by its CDN providers, including
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those located in the U.S. Rather, the CDN providers have access to the servers that host
xvideos.com, which are located in Amsterdam, and the CDN providers use automated processes
to “pull” certain content from those servers in Amsterdam onto the CDN providers’ regional
facilities based upon local user clicks and videos. Moreover, to my knowledge, none of the CDN
providers have their principal places of business in Texas.
       XNXX
       15.      NKL Associates, s.r.o., a Czech company, is the owner and operator of xnxx.com
(“XNXX”) and has been since 2014, as confirmed by the website’s Terms of Service. NKL
Associates, s.r.o. is a separate company from WGCZ Limited and WGCZ Holding and was not
named as a defendant in this suit. Neither WGCZ Limited nor WGCZ Holding owns or provides
technical support to XNXX, nor does either entity maintain or operate the site.
       Bangbros
       16.      Sonesta Technologies, s.r.o. operates the bangbros.com site, and Sonesta Limited,
s.r.o. and Sonesta Media, s.r.o. hold the intellectual property for the website. Those entities, in
turn, are held by United Communication Hldg. II, a.s., which is owned by Stephane Pacaud and
myself, who are both Czech residents and owners of WebGroup. Neither United
Communication Hldg. II, a.s. nor the Sonesta Entities have corporate overlap with WGCZ
Holding or WGCZ Limited. Neither WGCZ Holding nor WGCZ Limited operates any physical
personnel, servers, or offices supporting the bangbros.com website, whether in the United States
or elsewhere.
       Penthouse
       17.      In June 2018, Penthouse World Media LLC; Penthouse World Broadcasting LLC;
Penthouse World Digital LLC; Penthouse World Licensing LLC; and Penthouse World
Publishing LLC (the “Penthouse Entities”) acquired substantially all of the assets of Penthouse
Global Media, Inc. None of these entities are defendants in this lawsuit.
       18.      The penthouse.com website is owned and operated by Penthouse World Digital,
LLC. Penthouse World Digital, LLC is a California-based, Delaware limited liability company
of which WGCZ Limited owns 99%; a separate individual owns 1%. Penthouse World Digital,
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LLC is a distinct corporate entity from WGCZ Limited and WGCZ Holding and observes
corporate formalities, keeps separate corporate minutes, and keeps separate corporate records
from WGCZ Limited. Likewise, the other Penthouse Entities maintain separate corporate
minutes, separate records and otherwise observe corporate formalities by, for example,
maintaining separate bank accounts and not commingling assets. WGCZ Limited does not
operate or own the penthouse.com website.
       Litigating in the United States
       19.     The individuals who might have knowledge or information related to the
Complaint are located outside of the United States, and the vast majority do not speak English or
do not speak it as a first language. Given the entities’ locations in the Czech Republic, it would
be unduly burdensome for WGCZ Holding or WGCZ Limited to defend against a lawsuit in
Texas. Furthermore, as noted, neither WGCZ Holding nor WGCZ Limited have ever maintained
their principal place of business in Texas or ever been incorporated in or otherwise organized
under the law of the State of Texas.


       I declare under penalty of perjury of the laws of the United States of America that the
foregoing is true and correct. Executed on July 11, 2022, in Prague, Czech Republic.


DATED: July 11, 2022

                                            By: /s/ Robert Seifert
                                                Robert Seifert




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